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UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRIC OF FLORIDA

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CHAPTER 13 PLAN (Individual Adjustment of Debts[

 

 

 

 

 

|:| Original Plan
|:| 10th Amended Plan (Indicate lst, 2nd, etc. Amended, if applicable)
|:| Modified Plan (Indicate lst, 2nd, etc. Modified, if applicable)
DEBTOR: Danny Devereaux JOINT DEBTOR: Jenny Caroline Devereaux CASE NO.: 17-12809-AJC
SS#: xxX-xx- L SS#: xxx-xx-Zl ll
I. NOTICES
To Debtors: Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans

and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
Local Rules 2002-l (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.

To Creditors: Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
be reduced, modified or eliminated.

To All Parties: The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
box on each line listed below in this section to state whether the plan includes any of the following:

 

The valuation of a secured claim, set out in Section III, which may result in a

partial payment or no payment at all to the secured creditor |:| Included |:l Not mcluded

 

Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set

out in Section III l:l Included |:l NOt mcluded

 

 

 

 

Nonstandard provisions, set out in Section VIII |:| Included |:| Not included

 

 

II. PLAN PAYlV[ENTS. LENGTI-I OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
fees of 10%, beginning 30 days from the filing/conversion date. ln the event the trustee does not retain the full 10%, any unused
amount will be paid to unsecured nonpriority creditors pro-rata under the plan:

 

l. $2=274.52 formonths;tol ;
2. $2=447.78 formonthslto£ ;
3. $4=782.38 formonthsLtoi;
4. $4=739.98 formonthsLtoL;
B. DEBTOR(s)'ATTORNEY's FEE: E NONE E PRO BoNo
Total Fees: $9150.00 Total Paid: $1000.00 Balance Due: $8150.00
Payable $291.07 /month (Months 1 to § )

Allowed fees under LR 2016-1(B)(2) are itemized below:
($3500 safe harbor + $150 costs + $75 credit rept + $2500 MMM + 3100 Costs +$750 Motion to Value + $$25 costs + $750.00
Motion to Value + $25 costs + $500 Motion to Shorten + $750 Motion to Value + $25 costs)

Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III. TREATMENT OF SECURED CLAIMS
A. SECURED CLAIMS: m NONE
[Retain Liens pursuant to ll U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
1~ Credit<>rr MTGLQ iNvEsToRs LP
Addr€SSf SHELLPOINT MTG SVC Arrearage/ Payoff on Petition Date

POB 10826 .
GREENVILLE SC 2 9 6 0 3 MMM Adequate Protection M /month (Months ; to L )

 

 

 

 

 

 

 

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720 N Shore Drive, Miami Beach, FL 33141

|:| Personal Property/Vehicle

Description of Collateral:

army evereaux,

Last 4 Digits of
Account No.: 0657
Other:
|:| Real Property Check one below for Real Property:

|:[Principal Residence |:|Escrow is included in the regular payments

|:|Other Real Property |:|The debtor(s) will pay |:|taxes |:|insurance directly
Address of Collateral:

 

 

2- Credit°l`3 Vista Del Lago I Condo Assoc Inc.

 

Address: C/O Excel Management
2510 NW 97th Avenue,
Suite 200
Doral, Florida 33172

Last 4 Digits of
Account No.:

Other:

2503

Association for property

Regular Payment (Maintain)

Arrearage/ Payoff on Petition Date

 

$160.00 /month (Months 1

t<>£)

 

|:| Real Property
|:[Principal Residence

|:|Other Real Property

Address of Collateral:
9915 W Okeechobee Rd #2-503 , Hialeah, FL 33016

|:| Personal Property/Vehicle

Description of Collateral:

Check one below for Real Property:
|:|Escrow is included in the regular payments

|:|The debtor(s) will pay |:|taxes |:|insurance directly

 

 

3_ Creditor; Claim # 3 Wells Fargo Bank d/b/a Wells Fargo Dealer Services

 

 

 

|:| Personal Property/Vehicle
Description of Collateral: 2006 Ford Truck Explorer V-6

Addr€SSf P-O- BOX 17900 Arrearage/ Payoff on Petition Date $1,880.78
Denver’ CO 80217 Arrears Payment (Cure) $5.00 /month (Months 1 to § )

Last 4 Digits of Arrears Payment (Cure) $55.00 /month (Months 29 to 2 )
Account No-: 5216 Arrears Payment (Cure) $35.78 /month (Months 60 to § )
Other:
|:l Real Property Check one below for Real Property:

|:[Principal Residence |:lEscrow is included in the regular payments

|:lOther Real Property |:\The debtor(s) will pay |:ltaxes |:linsurance directly
Address of Collateral:

 

 

4. Creditor: We]ls Fargo Bank, N.A.

 

 

 

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$1,145.06

AddreSSZ P-O. BOX 10438 Arrearage/ Payoff on Petition Date

 

 

]5)0€;01;[_(())1;1;;’ IA Arrears Payment (Cure) $5.00 /month (Months 1 to § )

Last 4 Digits of Arrears Payment (Cure) $32.00 /month (Months 29 to 5_9 )
Account No_; 5628 Arrears Payment (Cure) $13.06 /month (Months 60 to § )
Other:
|:| Real Property Check one below for Real Property:

|:[Principal Residence |:|Escrow is included in the regular payments

|:|Other Real Property |:|The debtor(s) will pay |:|taxes |:|insurance directly
Address of Collateral:

|:| Personal Property/Vehicle
Description of Collateral: Mattress

 

 

 

B. VALUATION OF COLLATERAL: m NONE

IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
SECURING YOUR CLAIM IN THE AMOUNT lNDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON

YOU PURSUANT TO BR 7004 AND LR 3015-3.
1. REAL PROPERTY: l:| NONE

 

Payment
Total paid in plan:

1. Creditor: S\mtl'u$t Mol`tgage Value of Collateral: $345,021.00

$95,990.00

 

$0.00

Address: 1001 Semme$ AV€ Amount of Creditor's Lien:

Richmond, VA 23224

 

 

 

 

 

Hialeah, FL 33016

 

 

 

Last 4 Digits of Account No.: 9799 Interest Rate: 0.00% $0-00 /mOflth (MOchS to _
Real Property Check one below:
|:|Principal Residence |:l Escrow is included in the monthly
|:|Other Real Property mortgage payment listed in this section
|:| The debtor(s) will pay
Address of Collateral:
720 N Shore Dr Eltaxes |:|insurance directly
Miami Beach, FL 33 141
2. Creditor: Real Time Res°luti°ns Value of Collateral: $96,190.00 hyLllt
Address: 1750 Regal ROW Ste N Amount of Creditor's Lien: $67,756.00 Total Paid in Plan¢ $0-00
Dallas, TX 75235
Last 4 Digits of Account No.: 5731 Interest Rate: 0.00% $0-00 /month (MOI!thS to _
Real Property Check one below:
|:|Principal Residence |:| Escrow is included in the monthly
|:|Other Real Property mortgage payment listed in this section
|:l The debtor(s) will pay
Address of Collateral: v .
9915 w okeechobee Rd # 2-503 E|taxes |I|lnsurz‘~n<>e dlre¢tly

 

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3. Creditor: Vista Del Lag° l Value of Collateral: $96,190.00 _y_Pa nlth
Condominium Association _ _ _ . .
Amount of Creditor's Lien: $12,000.00 TOtal paid in plan: $0.00
Address: 18048 NW 59th AVe _
Unit 106
Hialeah, FL 33015 Interest Rate: 0.00% $0.00 /month (Months to _

 

Last 4 Digits of Account No.: 2503 Check one below

Real Property |:l Escrow is included in the monthly

|:|Principal Residence mortgage payment listed in this section
|:| The debtor(s) Will pay

|:|Other Real Property

taxes insurance directl
Address of Collateral: |:| E| y

9915 W Okeechobee Rd # 2-503
Hialeah, FL 33016

 

 

 

 

 

 

2. vF.HIcLEs(s)= § NONE
3. PERsoNAL PROPERTY: § NONE

C. LIEN AVOIDANCE IE NONE

D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
distribution fom the Chapter 13 Trustee.
lj NONE

|:] The debtor(s) elect to surrender to each creditor listed below the collateral that secures the creditor’s claim. The debtor(s)
request that upon confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in
personam as to any codebtor(s) as to these creditors.

 

lj Other:
Name of Creditor Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.l
Claim #18 6872 9915 W Okeechobee Rd # 2-503
1' Deutsche Bank National Hialeah, FL 33016
Trust Company

 

E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
fom the Chapter 13 Trustee.

§ NONE
IV. TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in ll U.S.C. §507 and ll U.S.C. § l322(a)(4)]
A. ADMINISTRATIVE FEES OTHER THAN DEBTORS¢S|' ATTORNEY'S FEE: l:| NONE
B. INTERNAL REVENUE SERVICE: l:| NONE
C. DOMESTIC SUPPORT OBLIGATION|S!: l:| NONE
D. OTHER; § NONE
V. TREATMENT OF UNSECURED NONPRIORITY CREDITORS
A. Pay $5.00 /month (Months ; toL )
Pay $375.00 /month (Months 2 to L )
Pay $2,476.14 /month (Months l to § )
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

B. E If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
C. SEPARATELY CLASSIFIED: |E NONE

*Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
creditors pursuant to ll U.S.C. § 1322.

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VI. EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
section shall not receive a distribution from the Chapter 13 Trustee.

§ NONE
vii. INCOME TAX RETURNS AND REFUNDS: § NONE

§ The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply With 521(f) 1-4 on an
annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
increases by more than 3% over the previous year’s income. [Miami cases]

VIII. NON-STANDARD PLAN PROVISIONS § NONE
l:] Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the Local
Form or deviating B'om it. Nonstandard provisions set out elsewhere in this plan are void.

 

§ Mortgage Modification Mediation

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l The debtor has filed a Verified Motion for Referral to MMM with:
Shellpoint Mortgage Servicing ("Lender")
loan number 596619910

 

 

for real property located at 720 N Shore Dr
Miami Beach, FL 33141

 

The parties shall timely comply with all requirements of the Order of Referral to MMM and all Administrative Orders/Local
Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage
modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has included a post-
petition monthly plan payment (a) with respect to the debtor’s homestead, of no less than the lower of the prepetition monthly
contractual mortgage payment or 31% of the debtor’s gross monthly income (after deducting any amount paid toward HOA fees
due for the property) and (b) With respect to income producing property, of no less than 75% of the gross income generated by
such property, as a good faith adequate protection payment to the lender. All payments shall be considered timely upon receipt
by the trustee and not upon receipt by the lender.

Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the lender’s
proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage arrearage
stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to confirmation
of the plan or modified plan.

lf the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result of the
pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage Modification Agreement
With Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification Agreement With Lender) no later than
14 calendar days following settlement Once the settlement is approved by the Court, the debtor shall immediately amend or
modify the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement, as applicable

lf a settlement is reached after the plan is confirmed, the debtor will file a motion to modify the plan no later than 30 calendar
days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Clairn to reflect
the settlement reached after confirmation of the plan. The parties will then timely comply With any and all requirements
necessary to complete the settlement

ln the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

lf the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s Final Report is
filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the lender has filed a Proof of
Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to value; or (b) provide that the real
property will be “treated outside the plan.” If the property is “treated outside the plan,” the lender Will be entitled to in rem stay
relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a motion to
confirm that the automatic stay is not in effect as to the real property.

Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
of Claim.

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PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

Danny Devereaux Debtor March 12, 2013 Jenny Caroline Devereaux Joint Debtor March 12, 2018

 

 

Date Date

Danny Devereaux Jenny Caroline Devereaux

Diego G Mendez March 12, 2018
Attorney with permission to sign on Date
Debtor(s)' behalf

 

By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
contains no nonstandard provisions other than those set out in paragraph VlII.

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